                                              Case 3:17-cv-01350-CAB-JLB Document 19 Filed 02/12/18 PageID.79 Page 1 of 3



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                                          8                              UNITED STATES DISTRICT COURT
                                          9                           SOUTHERN DISTRICT OF CALIFORNIA
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                                                   JUSTIN EVANS, et al.,                                   CASE NO: 17-CV-01350-CAB-
                                         12                                                                JLB
HYDE & SWIGART




                                                                        Plaintiffs,
                 San Diego, California




                                         13
                                         14        v.
                                         15        CREDIT CONTROL, LLC,                                    NOTICE OF SETTLEMENT
                                         16
                                                                        Defendant.
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                                         23          NOTICE IS HEREBY GIVEN that this case has been settled in its entirety.
                                         24     The Plaintiff anticipates filing a Request for Dismissal of this action in its entirety
                                         25     with prejudice within 60 days. Plaintiff requests that all pending dates and filing
                                         26     requirements be vacated and that the Court set a deadline on or after April 13, 2018
                                         27     for filing a Request for Dismissal.
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                                                 ______________________________________________________________________________________________________
                                                  NOTICE OF SETTLEMENT                     - ! 1 of !3 -                 17-cv-01350-CAB-JLB
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                                          1     Respectfully submitted,
                                          2                                                                        HYDE & SWIGART
                                          3     Date: February 12, 2018                                      By: /s/Yana A. Hart
                                                                                                                 Yana A. Hart, Esq.
                                          4                                                                      Attorneys for Plaintiffs
                                          5
                                          6                                                                        YU MOHANDESI LLP

                                          7     Date: February 12, 2018                                      By: /s/Ben Mohandesi
                                                                                                                 Ben Mohandesi, Esq.
                                          8                                                                      Attorneys for Defendant
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                                                  NOTICE OF SETTLEMENT                     - ! 2 of !3 -                 17-cv-01350-CAB-JLB
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                                          1                                      SIGNATURE CERTIFICATION
                                          2            Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
                                          3     Policies and Procedures Manual, I hereby certify that the content of this document
                                          4     is acceptable to Ben Mohandesi, counsel for the Defendant, and that I have obtained
                                          5     his authorization to affix his electronic signature to this document.
                                          6
                                          7     Dated: February 12, 2018                                       HYDE & SWIGART
                                                                                                           By: /s/Yana A. Hart, Esq.
                                          8
                                                                                                               Yana A. Hart
                                          9                                                                    Attorney for Plaintiffs
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                                                  NOTICE OF SETTLEMENT                     - ! 3 of !3 -                 17-cv-01350-CAB-JLB
